          Case 1:19-cv-03581-FYP Document 14 Filed 07/05/22 Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA ex rel. PAUL                        Civil Action No. 1:19-cv-3581
 TERRION and JODY EBERHART, et al.,

                        Plaintiffs/Relators,                  PLAINTIFFS’/RELATORS’
                                                              NOTICE OF VOLUNTARY
 v.                                                           DISMISSAL

 POINT BLANK ENTERPRISES, INC., et al.,

                         Defendants.


          PLAINTIFFS’/RELATORS’ NOTICE OF VOLUNTARY DISMISSAL

       Plaintiffs/Relators Paul Terrion and Jody Eberhart (“Relators”), pursuant to Fed. R. Civ. P.

Rule 41(a)(1), hereby dismiss without prejudice all causes of action brought on behalf of the City

of Hallandale Beach (Count XXVII of the Complaint), Broward County (Count XXVIII of the

Complaint), and Miami-Dade County (count XXIX of the Complaint).

Dated: July 5, 2022                             Respectfully submitted,



                                                Noah M. Rich, DC Bar No. 1033799
                                                BARON & BUDD, P.C.
                                                600 New Hampshire Ave. NW, 10th Floor
                                                Washington, D.C. 20037
                                                nrich@baronbudd.com
                                                (202) 333-7109
                                                Counsel for Plaintiffs/Relators

                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 5, 2022, a copy of the foregoing Notice of Voluntary Dismissal
was served on all counsel of record via this Court’s CM/ECF filing system, and that I caused a
copy of the foregoing motion to be served via first-class mail on all parties not registered with the
Court’s CM/ECF filing system.

                                                              /s/ Noah M. Rich
                                                              Noah M. Rich


                                               Page 1 of 1
